                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTIRCT OF ILLINIOS
                            EASTERN DIVISION

 ARTURO DeLEON-REYES,                        )
                                             )
             Plaintiff,                      )   1:18 Civ. 1028
                                             )
             v.                              )   Hon. Steven Seeger
                                             )   District Judge
 REYNALDO GUEVARA, et al.,                   )
                                             )   Magistrate Sunil R. Harjani
             Defendants.                     )
                                             )

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 GABRIEL SOLACHE,                            )
                                             )
             Plaintiff,                      )   1:18 Civ. 2312
                                             )
             v.                              )   Hon. Steven Seeger
                                             )   District Judge
 CITY OF CHICAGO, et al.,                    )
                                             )   Magistrate Sunil R. Harjani
             Defendants.                     )
                                             )

    DEFENDANT GUEVARA’S MOTION TO JOIN INDEPENDENT OFFICERS’
     LOCAL RULE 56.1 STATEMENT OF UNCONTESTED FACTS AND
 MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR SUMMARY
   JUDGMENT, AND DEFENDANT GUEVARA’S MOTION FOR PARTIAL
                       SUMMARY JUDGMENT

      Defendant Reynaldo Guevara by and through his attorneys submits this motion

to join Defendants Ernest Halvorsen (deceased), Edwin Dickinson, Robert Rutherford,

and Daniel Trevino (collectively “Independent Officers”) Local Rule 56.1 Statement of


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Uncontested Facts and Independent Officers’ Memorandum Of Law In Support Of Their

Motion For Summary Judgment (Dkt. 689-1 (Motion) and Dkt. 689-2 (Memorandum of

Law) and Dkt. 689-3 (Local Rule 56.1 Statement of Uncontested Facts)). Additionally,

Defendant Guevara separately moves for partial summary judgement to dismiss any

claim that the allegedly coerced confessions of Plaintiffs were fabricated.

                                      INTRODUCTION

     The amended complaints of Plaintiffs Arturo DeLeon Reyes and Gabriel Solache

(collectively “Plaintiffs”) allege violations of their constitutional rights under 42 U.S.C.

§1983 and state law (Dkt. #396 (Reyes)) and Dkt. #224 (Solache)).

     Reyes brings nine counts alleged against Defendant Guevara:

 Count I      –   False Confession Fifth and Fourteenth Amendments
 Count II     –   Fabrication of False Witness Statements Fourteenth Amendment
 Count III    –   Fourth Amendment Deprivation of Liberty Without Probable Cause
 Count IV     –   Fourteenth Amendment Due Process Violations
 Count V      –   Failure To Intervene
 Count VI     –   Federal Conspiracy to Deprive Constitutional Rights
 Count VIII   –   State Law Intentional Infliction of Emotional Distress
 Count IX     –   Common Law Conspiracy

     Similarly, Solache alleges seven counts against Defendant Guevara:

 Count I      –   Fifth and Fourteenth Amendments
 Count II     –   Violation of Due Process
 Count III    –   Failure to Intervene
 Count V      –   State Law Claim Malicious Prosecution
 Count VI     –   State Law Claim for Intentional Infliction of Emotional Distress
 Count VII    –   State Law Civil Conspiracy Claim

     Specific to Guevara, the Complaints allege that Defendant Guevara coerced Reyes


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and Solache to involuntarily confess and to make false statements regarding the murder

of the Mariano and Jacinta Sotos and abduction of the Sotos’ two children in violation of

the Fifth and Fourteenth Amendments. (Dkts. #396 (Reyes) (Count I) ¶¶54-59, 61, 64,

125-134; (Count II) ¶¶69-72, 135-140; (Solache) (Count I), ¶¶12-32; 76-81. In addition, the

Complaints allege that Defendant Guevara (and others) used coercion to obtain false

witness statements, fabricated false reports, statements and other evidence and/or

deliberately withheld evidence, including the fact of their alleged misconduct in

violation of the Fourteenth Amendment. (Dkts. #396 (Reyes) (Count II) ¶¶69-72, 135-

140; (Count IV) ¶¶149-158); (Solache) #224 (Count II), ¶¶34-38, 43-44, 47-48, 82-88). Both

Plaintiffs also allege state law claims for Intentional Infliction of Emotion Distress (IIED)

(Dkts. #396 (Reyes) (Count VIII); #224 (Solache) (Count VI)); Malicious Prosecution

(Dkts #396 (Reyes) (Count IX); #224 (Solache) (Count V)); and common law conspiracy

(Dkts #396 (Reyes) (Count X); #224 (Solache) (Count VII)). Moreover, Reyes alleges that

Guevara and others initiated criminal proceedings against Plaintiffs without probable

cause in violation of the Fourth Amendment. (Dkt. #396 (Reyes) (Count III) ¶¶141-148)

and a federal conspiracy claim (Dkt. #396 (Reyes) (Counts III & VI)).

     Guevara moves to join the Independent Officers’ arguments related to allegations

that the Officers suppressed evidence in violation of Brady v. Maryland, 373 U.S. 83

(1963) (Dkt. 689-2, p. 24). In addition, Guevara moves to join the Independent Officers’

arguments related to Plaintiffs’ claims alleging a failure to intervene (Dkt. #689-2, p.xx)


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Reyes (Count V); Solache (Count III)); malicious prosecution/unlawful seizure pursuant

to the initiation of charges under the Fourth Amendment and state law (Dkt. #xx, p. xx;

Reyes (Count III, IX); Solache (Count V)); and for engaging in a conspiracy to commit

the violations alleged above under both federal and state law (Dkt #xx, p. xx; Reyes

(Counts VI, XI); Solache (Count VII)). Guevara also joins the Independent Officers’

argument for qualified immunity. (Dkt. #xx, p. xx) Finally, Guevara moves separately

for partial summary judgment under Counts I or II regarding Plaintiff’s allegations that

the alleged coercion satisfies a claim of fabrication. It does not. Therefore, Guevara

moves for partial summary judgment on all counts except Plaintiff’s allegations that

their confessions were involuntary.

                                       MOTION TO JOIN

        Independent Officers moved for summary judgement, filing a memorandum of

law in Support of Motion for Summary Judgement (“Memorandum”)

   I.       Defendant Guevara Moves to Join the Independent Officers’ Local Rule 56.1
            Statement of Uncontested Facts (Dkt. #xx).

   II.      Defendant Guevera Moves to Join the Independent Officers’ Motion for
            Summary Judgment and Memorandum of Law In Support, In Part (Dkt. #xx).

            A. Memorandum’s Introduction, Summary of Materials Facts, and Legal
               Standard Sections

         Defendant Guevara moves to join Sections of the Memorandum entitled,

“Introduction,” “Summary of Undisputed Material Facts,” and “Legal Standard,” in their

entirety. (Dkt. XX, pp. xx; xx, xx).

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          B. Memorandum’s Argument Section

       Defendant Guevara moves to join, in part, the “Argument” Section of Independent

Officers’ Memorandum. The arguments he joins demonstrate that he is entitled to

summary judgment on all the relevant claims.

                  i. Part II – Plaintiffs Lack Sufficient Evidence to Support Their Brady
                     and Fabrication of Witness Statement Claims.

       Defendant Guevara joins all of Part II of the Argument Section of the

Memorandum. (Dkt.xx, p. xx-xx). Accordingly, he is entitled to summary judgment on

Plaintiffs Due Process claims arising under Brady and for fabrication of evidence related

to witness statements. (Reyes (Count IV); Solache (Count II)).

                 ii. Part III(A), (D) – Plaintiff’s Failure to Intervene Claims.

       To the extent that Plaintiffs’ claim that Guevara knew of other officers’ misconduct

related to the fabrication of witness notes, altering of crime scene evidence and

destruction of evidence, separate and apart from Guevara’s interactions with Reyes and

Solache, Guevara joins the Independent Officers’ argument against this theory of

liability—as no evidence exists that Guevara had knowledge of any such misconduct.

(Dkt. #xx, pp. xx-xx)

                iii. Part IV – Reyes’s Fourth Amendment Unlawful Pretrial Detention
                     and Plaintiffs’ State Law Malicious Prosecution Claims Fail as a
                     Matter of Law.

       Defendant Guevara joins all of Part IV of the Memorandum except Subpart A.

(Dkt.xxx, p.xx-xx). Accordingly, he is entitled to summary judgment on Reyes’s Fourth
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Amendment Unlawful Pretrial Detention (Count III) and both Plaintiffs’ State Law

Malicious Prosecution Claims. (Reyes (Count VIII); Solache (Count III)).

                   iv. Part V – Plaintiff’s Federal and State Conspiracy Claims Fail.

          Defendant Guevara joins all of Part V of the Memorandum. (Dkt. xx, p. xx).

Accordingly, he is entitled to summary judgment on Reyes Section 1983 conspiracy claim

(Count VI) and Reye and Solache’s state law conspiracy claims (Reyes (Count X); Solache

(Count VII)).

   GUEVARA’S SEPARATE MOTION FOR SUMMARY JUDGMENT, IN PART

   III.      Any Claim that Reyes’s or Solache’s Confessions Were Fabricated Must Be
             Dismissed.

          As the Independent Officers pointed out in their Memorandum, the Plaintiff’s

conflate two due process allegations: coerced confession and fabrication of evidence.

(Reyes (Dkt. #396, ¶¶126-128 (Count I); ¶137 (Count II)); Solache (Dkt. #224, ¶79 (Count

I); ¶84 (Count II)) Reyes’ complaint alleges that Guevara both forced him to “make false

statements” and statements that were “involuntary;” used coercion to “force Plaintiff to

incriminate himself falsely…;” and “fabricated a false confession.” (Dkt. #396; ¶¶126-

128) Similarly, Solache alleges that Guevara “coerced and forced Plaintiff to incriminate

himself falsely;” and “scripted and coerced” Solache’s “false statements”. (Dkt. #224,

¶¶77, 79) Reyes also broadly alleges, that Guevara used physical coercion to “obtain

false witness statements” from “other witnesses.” (Dkt. #396, ¶137) However, a coerced

confession does not, without more, satisfy a fabrication of evidence claim.
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       “Coerced testimony is testimony that a witness is forced by improper means to

give; the testimony may be true or false. Fabricated testimony is testimony that is made

up; it is invariably false.” Camm v. Faith, 937 F.3d 1096, 111 (7th Cir. 2019) citing Fields v.

Wharrie, 740 F.3d 1107, 1110 (7th Cir. 2014). Coercive interrogation techniques alone are

insufficient to find that one fabricated evidence; and does not violate the wrongly

convicted person’s due-process rights. Id. citing Avery v. City of Milwaukee, 847 F.3d 433,

439 (7th Cir. 2017). In other words, coerced confessions are not necessarily fabricated

evidence.

       “Coercively interrogating a witness or a confession may be deplorable, and may

contribute to wrongful convictions, but it is not necessarily evidence of fabrication

because unlike fabricated or perjured testimony, the confession may be true.” Coleman v.

City of Peoria, 925 F.3d 336, 346 (7th Cir. 2019) For a claim of fabrication to withstand

summary judgment, the Plaintiff must show that the officer knew the confession was

false. Petty v. City of Chicago, 754 F.3d 416, 422 (7th Cir. 2014). Police officers are

constantly faced with reluctant witnesses and recanted confessions. Coleman v. City of

Peoria, 925 F.3d 336, 351 (7th Cir. 2019) (Fourth Amendment probable cause standard

could be supported by an allegedly coerced confession). Officers investigating a crime

are not required "to use the rules for summary judgment and draw inferences in favor

of the suspects." Id. at 351 quoting Bridewell v. Eberle, 730 F.3d 672, 676 (7th Cir.

2013). Plaintiffs cannot save a claim based on coercive interrogation techniques via


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speculation that defendants were knowingly fabricating evidence. Coleman, 925 F.3d at

346 citing Petty, 754 at 423 (“’Manufactured false evidence’… [is not a] magic talismans

that will transform a coercion case into an evidence fabrication case and give rise to a

cognizable claim where one does not exist.”).

       Here, putting aside the allegedly coercive interrogation tactics, there is

insufficient evidence to support a finding that Defendant Guevara knew the inculpatory

statements provided by Reyes or Solache were false when they were given. Indeed,

Defendant Guevara was investigating the brutal stabbing and murder of Mariano and

Jacinta Soto, the parents of the children that Adriana Mejia and Reyes brought to the

station—murders that a woman Adriana Mejia’s size, 5’ 0” and 164 pounds, could not

have committed on her own. (SOF ¶¶5, 7)

       As soon as Adriana, Adriana’s husband and Reyes brought the Soto’s young son

to the police station, Defendant Guevara and other officers learned that Adriana Mejia,

Reyes and Solache lived and were connected to each other through their hometown in

Mexico. (SOF ¶¶8, 9, 12-13) They were all in possession of the Sotos’ children, as the

Sotos’ children were staying in Adriana Mejia’s home. (SOF ¶29) It became immediately

obvious after officers engaged with Adriana Mejia, that she had lied about how she

came into possession of the children and that someone named Norma Salazar asked her

to care for the Soto’s children. (SOF ¶¶52, 59, 81-84) Then, based upon consent provided

by Adriana Mejia’s husband, the officers searched Adriana Mejia’s home and recovered


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shoes with human blood on them. (SOF ¶85) Once confronted with the shoes, Adriana

Mejia implicated at least one of the Plaintiffs in the crime. (SOF ¶88-89) Shortly

thereafter, she implicated both Plaintiffs. (SOF ¶91-94). Specifically, Adriana Mejia told

officers that she, Reyes, and Solache had all participated in killing Jacinta and Mariano

Soto and abducted their children. (SOF, Ex. 1) Adriana Mejia signed a statement to the

same effect, testified to the same under oath before a criminal court, and affirmed the

same under oath in her deposition. (SOF, Ex. 1, ¶¶97-98) Adriana Mejia’s initial

statement implicating Plaintiffs alone (and without her numerous and subsequent

confirmations of her confession under oath) would have been sufficient for Guevara to

believe Reyes’s and Solache’s confessions. But, in addition, Adriana Mejia was brought

before Solache where she confronted him with his involvement in the crime. (SOF Ex. 9,

p. 314-315) Guevara also confronted Reyes with Adriana’s statement and found Reyes

in possession of paper with the name Norma Salazar written on it. (SOF Ex. ¶¶156, 99-

100).

        Subsequently, Guevara asked Solache questions about the case and Solache

affirmed Guevara’s statements. (SOF, Ex. 9, p. 323; Ex. 59, p. 478-479) Solache signed a

sworn statement in front of an Assistant State’s Attorney (SOF, Ex. 116) and later

admitted that he answered the questions asked by Guevara honestly, but claims that

because he did not actually say the statements himself—they were fabricated. (SOF, Ex.

116) However, given the statement provided by Adriana (SOF, Ex. 1), the surrounding


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physical evidence implicating Adriana and the lies Adriana had told about her

pregnancy and Norma Salazar, Guevara had every reason to believe Solache was telling

Guevara the truth when he affirmed Guevara’s statements—despite any alleged

physical coercion.

       Similarly, although Reyes later recants his statement and claims his statement

was fabricated, given the corroboration with Adriana’s statement, that Reyes confessed

after being confronted with Adriana’s statement and Reyes’ possession of notes related

to Norma Salazar, Guevara had every reason to believe Reyes’ confession was true at

the time it was signed—even despite any alleged physical coercion. Moreover, Guevara

did not take Reyes’ statement. Reyes provided his statement to officers other than

Guevara, signed his statement and affirmed the statement was given absent any

promises or threats. (SOF, Ex. 115; ¶110). Given the surrounding facts and evidence,

Plaintiffs cannot establish that Guevara knew either Reyes’s or Solache’s confessions

were untrue and therefore fabricated. Thus, a claim for falsification must fail as a

matter of law.

                                     CONCLUSION

       For the foregoing reasons, Defendant Guevara requests that the Court grant his

motion to join Independent Officers’ Local Rule 56.1 Statement of Uncontested Facts in

its entirety, Sections of their Motion and Memorandum as detailed above, and to

dismiss any allegations of fabrication related to the allegedly coerced confessions of


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Solache and Reyes.




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